           Case 8:21-ap-01097-ES Doc 33 Filed 07/01/22                                            Entered 07/03/22 12:55:29                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Houser Bros. Co.,
       Plaintiff                                                                                                       Adv. Proc. No. 21-01097-ES
Gallian,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 29, 2022                                               Form ID: pdf031                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 01, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
dft                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Jun 30 2022 00:27:00      Jamie Lynn Gallian, 16222 Monterey Ln SP #376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
pla                            Houser Bros. Co.

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 01, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 29, 2022 at the address(es) listed below:
Name                               Email Address
D Edward Hays
                                   on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                                   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Jeffrey I Golden (TR)
                                   lwerner@wgllp.com jig@trustesolutions.net;kadele@wgllp.com

Laila Masud
                                   on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
          Case 8:21-ap-01097-ES Doc 33 Filed 07/01/22                          Entered 07/03/22 12:55:29    Desc
                              Imaged Certificate of Notice                     Page 2 of 4
District/off: 0973-8                                         User: admin                                    Page 2 of 2
Date Rcvd: Jun 29, 2022                                      Form ID: pdf031                               Total Noticed: 1
United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 4
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    D. EDWARD HAYS, #162507
  1 ehays@marshackhays.com
    LAILA MASUD, #311731
  2 lmasud@marshackhays.com                               FILED & ENTERED
    BRADFORD N. BARNHARDT, #328705
  3 bbarnhardt@marshackhays.com
    MARSHACK HAYS LLP                                              JUN 29 2022
  4 870 Roosevelt
    Irvine, CA 92620                                        CLERK U.S. BANKRUPTCY COURT
  5 Telephone: (949) 333-7777                               Central District of California
                                                            BY jle        DEPUTY CLERK
    Facsimile: (949) 333-7778
  6
    Attorneys for Plaintiff,
  7 HOUSER BROS. CO. dba RANCHO DEL
    REY MOBILE HOME ESTATES
  8
                              UNITED STATES BANKRUPTCY COURT
  9
                   CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 10
    In re                                       Case No. 8:21-bk-11710-ES
 11
    JAMIE LYNN GALLIAN,                         Chapter 7
 12
                   Debtor.                      Adv. No. 8:21-ap-01097-ES
 13
                                                ORDER APPROVING STIPULATION
 14 HOUSER BROS. CO. dba RANCHO DEL REY         EXTENDING MEDIATION COMPLETION
    MOBILE HOME ESTATES,
                                                DEADLINE TO ALLOW FOR
 15                                             MEDIATION WITH THOMAS C. WATTS,
                   Plaintiff,
                                                III, ESQ.
 16
    v.
                                                 [NO HEARING REQUIRED]
 17
    JAMIE LYNN GALLIAN,
 18
                   Defendant.
 19

 20             The Court has read and considered the Stipulation Extending Mediation Completion

 21 Deadline to Allow for Mediation with Thomas C. Watts, III, Esq. ³6WLSXODWLRQ´ 1 entered into by

 22 and between Plaintiff, Houser Bros. Co., a California limited partnership dba Rancho Del Rey

 23 0RELOH+RPH(VWDWHV ³+RXVHU%URV´ and Defendant, Jamie Lynn Gallian ³Ms. Gallian,´ and

 24 WRJHWKHUZLWK+RXVHU%URVWKH³3DUWLes´), filed on June 28, 2022, as Docket No. 31, and has found

 25 good cause to approve the Stipulation.

 26             IT IS ORDERED that:

 27             1.     The Stipulation is approved in its entirety; and

 28
      1
          Capitalized terms not defined herein shall have the meanings ascribed to them in the Stipulation.
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  1            2.       The Mediation Deadline shall be extended from June 30, 2022, through and including
  2 August 19, 2022, so the Parties may attend mediation with Mr. Thomas C. Watts, III.
  3                                                    ###
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 23     Date: June 29, 2022

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 26
      4881-5746-9990, v. 1
 27

 28
